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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


CARISSA HEUSTIS,                                   CASE NO. 05-CV-502-N-ELJ

                           Plaintiff,              JUDGMENT

vs.

JOE ORSI, an individual; KENNETH L.
SMITH, individually and in his capacity as
President of FRONTIER LEASING AND
SALES, INC. and DAVE SMITH
CHEVROLET OLDSMOBILE PONTIAC
CADILLAC, INC.; FRONTIER LEASING
AND SALES, INC., an Idaho corporation;
DAVE SMITH CHEVROLET OLDSMOBILE
PONTIAC CADILLAC, INC., an Idaho
corporation,

                           Defendants.




       Based upon this Court’s Memorandum Order, dated June 19, 2007, and the Court

being fully advised in the premises;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff take

nothing from the Defendants and this case is DISMISSED IN ITS ENTIRETY.



                                         DATED: June 19, 2007




                                         Honorable Edward J. Lodge
                                         U. S. District Judge



JUDGMENT-1
